Case 08-14631-GMB         Doc 317-7 Filed 05/21/08 Entered 05/21/08 13:15:20             Desc
                            Certificate of Service Page 1 of 2



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  Counsel for De Lage Landen Financial Services, Inc.


                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY


  In re:                                              :       Chapter 11
                                                      :
  SHAPES/ARCH HOLDINGS, LLC, et al.,                  :       Case No. 08-14631 (GMB)
                                                      :       (Jointly Administered)
           Debtors.                                   :
                                                      :       Hearing Date:
                                                              June 16, 2008 at 10:00 a.m.

                              CERTIFICATION OF SERVICE

           David W. Phillips, Esq., attorney for De Lage Landen Financial Services, Inc.

  certifies as follows:

           1.     I am attorney for De Lage Landen Financial Services, Inc. in this case and

  am fully familiar with the facts of this case.

           2.     On May 21, 2008, I caused a true and complete copy of the NOTICE OF

  MOTION OF DE LAGE LANDEN FINANCIAL SERVICES, INC. FOR AN ORDER

  (1) GRANTING RELIEF FROM THE AUTOMATIC STAY PROVISIONS OF 11
Case 08-14631-GMB       Doc 317-7 Filed 05/21/08 Entered 05/21/08 13:15:20                   Desc
                          Certificate of Service Page 2 of 2



  U.S.C. § 362(a), the VERIFIED MOTION OF DE LAGE LANDEN FINANCIAL

  SERVICES, INC. FOR AN ORDER (1) GRANTING RELIEF FROM THE

  AUTOMATIC STAY PROVISIONS OF 11 U.S.C. § 362(a) AND (2) COMPELLING

  DEBTORS TO ASSUME OR REJECT UNEXPIRED LEASES OF PERSONAL

  PROPERTY, and all Exhibits thereto, to be served by first class mail upon the following:


          Shapes, LLC                               Jerrold N. Poslusny
          9000 River Road                           COZEN O’CONNER
          DeLair, NJ 08110                          Liberty View, Suite 300
                                                    457 Haddonfield Road
                                                    Cherry Hill, NJ 08002
          Donald F. McMaster                        Michael D. Sirota
          Office of the United States Trustee       COLE, SHOTZ, MEISEL, FOREMAN &
          One Newark Center                         LEONARD
          Suite 2100                                25 Main Street
          Newark, NJ 071102                         Hackensack, NJ 07601
                                                    Counsel for the Official Joint Committee of
                                                    Unsecured Creditors


         I hereby certify that the foregoing statements by me are true. I am aware that if

  any of the statements made by me are willfully false, I am subject to punishment.


  DATED: May 21, 2008

                                                /s/
                                                David W. Phillips, Esq. (DP 2099)
                                                Two Penn Plaza East
                                                Newark, New Jersey 07105
                                                Telephone: (973) 491-3600
                                                Facsimile: (973) 491-3555
                                                Counsel for De Lage Landen Financial
                                                Services, Inc.




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